

Matter of New York City Asbestos Litig. (2021 NY Slip Op 00003)





Matter of New York City Asbestos Litig.


2021 NY Slip Op 00003


Decided on January 05, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 05, 2021

Before: Webber, J.P., Singh, Kennedy, Shulman, JJ. 


Index No. 190241/15 Appeal No. 12778 Case No. 2020-00385 

[*1]In the Matter of New York City Asbestos Litigation.
Karen Barber, as Executrix of the Estate of James R. Montell, Plaintiff-Respondent,
A.O. Smith Water Products Co. et al., Defendants, Kohler Co., Defendant-Appellant.


Goldberg Segalla, LLP, White Plains (William T. O'Connell of counsel), for appellant.
Weitz &amp; Luxenberg, P.C., New York (Jason P. Weinstein of counsel), for respondent.



Order, Supreme Court, New York County (Manuel J. Mendez, J.), entered August 1, 2019, which denied the motion of defendant Kohler Co. (Kohler) to dismiss the complaint for lack of jurisdiction, unanimously affirmed, without costs.
The motion court correctly concluded that the seventeenth affirmative defense pled in Kohler's answer, which states, "Where applicable, Kohler preserves its right to object to personal jurisdiction of [p]laintiff over Kohler," was insufficient to assert a personal jurisdiction defense "with specificity," thereby waiving it (Interlink Metals &amp; Chems. v Kazdan , 222 AD2d 55, 58 [1st Dept 1996]).
In view of the foregoing, Kohler's remaining arguments are either academic or unavailing.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 5, 2021








